   Case 1:19-mj-00231-IDD Document 21 Filed 02/23/22 Page 1 of 5 PageID# 71




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                             )
                                                     )
               v.                                    )
                                                     )       Case No. 1:19-mj-231
ALLISON ELIZABETH FLUKE-EKREN,                       )
     a/k/a “Allison Elizabeth Brooks,”               )
     a/k/a “Allison Ekren,”                          )
     a/k/a “Umm Mohammed al-Amriki,”                 )
     a/k/a “Umm Mohammed,”                           )
     a/k/a “Umm Jabril,”                             )
                                                     )
                      Defendant.                     )


              CONSENT MOTION TO EXTEND TIME FOR INDICTMENT
                      AND MEMORANDUM IN SUPPORT

       The United States of America, by and through undersigned counsel, with the express

consent of ALLISON ELIZABETH FLUKE-EKREN (“the defendant” or “Fluke-Ekren”), and

the defendant’s counsel, respectfully move the Court to extend the time to indict this case from

February 27, 2022 to April 28, 2022. In support thereof, the parties state as follows:

       1.      On May 15, 2019, the Court authorized a criminal complaint charging the

defendant with providing and conspiring to provide material support or resources to a foreign

terrorist organization, namely the Islamic State of Iraq and al-Sham (“ISIS”), in violation of 18

U.S.C. 2339B. The defendant was transferred into the custody of the FBI overseas on January

28, 2022, at which point she was brought to the Eastern District of Virginia (“EDVA”) on the

same day. On January 31, 2022, the defendant made an initial appearance in this Court. On

February 3, 2022, the defendant was ordered detained pending trial.


                                                 1
   Case 1:19-mj-00231-IDD Document 21 Filed 02/23/22 Page 2 of 5 PageID# 72




       2.      As alleged by the government, Fluke-Ekren is a 42-year-old former resident of

Kansas who traveled to Syria for the purpose of committing or supporting terrorism. Fluke-

Ekren departed the United States in or around 2008 and moved to Egypt.1 Fluke-Ekren resided

in Egypt until in or around 2011 (including periodic visits to the United States between 2008 –

2011), at which point she moved to Libya for approximately one year. In or around 2012, Fluke-

Ekren and others with whom she traveled were smuggled into Syria.

       3.      As further alleged by the government, Fluke-Ekren’s ISIS-related conduct

includes, but is not limited to, planning and recruiting operatives for a potential future attack on a

college campus inside the United States and serving as the appointed leader and organizer of an

ISIS military battalion located in Syria, known as the Khatiba Nusaybah, in order to train women

on the use of automatic firing AK-47 assault rifles, grenades, and suicide belts.2 Additionally,

the government has alleged that Fluke-Ekren provided ISIS and ISIS members with services,

which included providing lodging, translating speeches made by ISIS leaders, teaching extremist

ISIS doctrine, and training children on the use of automatic firing AK-47 assault rifles, grenades,

and suicide belts.




       1
         According to travel records, Fluke-Ekren has not been in the United States since on or
about January 8, 2011, until she was transferred in custody to EDVA on January 28, 2022.
       2
           For example, according to evidence proffered by the government, in the 100th issue of
al-Naba (a former ISIS newspaper), which was distributed on or about October 5, 2017, ISIS
urged women to fight on the battlefield alongside men in order to defend the terrorist
organization. In the article, “The Duty of Women in Waging Jihad Against the Enemy,” the
author explained that in the context of the war on ISIS, “it is mandatory for the Muslim women
to fulfill their duty from all aspects in supporting the mujahideen [male fighters] in this battle, by
preparing themselves as mujahidat [female fighters] in the cause of Allah, and readying to
sacrifice themselves to defend the religion of Allah.”

                                                  2
   Case 1:19-mj-00231-IDD Document 21 Filed 02/23/22 Page 3 of 5 PageID# 73




       3.      The Speedy Trial Act requires that the defendant be indicted within 30 days of the

defendant=s arrest after subtracting all excludable time. A conservative estimate of the

indictment deadline is February 27, 2022. The parties jointly request an extension of

approximately 60 days, to April 28, 2022, for an extension of the time to indict. Extending this

time period would be in the best interests of justice in that it would give defense counsel an

opportunity to continue meeting with the defendant, review discovery that the government has

provided and will continue to provide to the defense, and to discuss a possible pre-indictment

plea resolution of the case. Additionally, the two members of the prosecution team on this case

are scheduled to begin a three to four-week jury trial in this Court on March 29, 2022 for a

separate case involving terrorism charges (unconnected to Fluke-Ekren) relating to an ISIS

hostage-taking scheme that resulted in the deaths of four American citizens, as well as the deaths

of British and Japanese nationals, in Syria (United States v. El Shafee Elsheikh, 1:20-cr-239).

       5.      The defendant hereby agrees to waive any objections under the Speedy Trial Act

as it pertains to this motion and to extend the government’s time to file an indictment in this case

through and including April 28, 2022. The waiver is made knowingly, intentionally, and

voluntarily by the defendant, and with full knowledge of the provisions of the Speedy Trial Act,

Title 18, United States Code, Sections 3161, et seq., and with the advice and consent of counsel.

       6.      The defendant expressly understands that her waiver is not predicated upon any

promises, agreements, or understandings of any kind between the government and the defense in

this case, and that nothing contained herein shall be construed to preclude the government from

proceeding against the defendant during or after the time period covered by this waiver.




                                                 3
Case 1:19-mj-00231-IDD Document 21 Filed 02/23/22 Page 4 of 5 PageID# 74
   Case 1:19-mj-00231-IDD Document 21 Filed 02/23/22 Page 5 of 5 PageID# 75




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 23, 2022, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

all counsel of record.



                                             /s/ Raj Parekh
                                             Raj Parekh
                                             First Assistant United States Attorney




                                                5
